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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION
                                        §
   CXT SYSTEMS, INC.,                   § Case No. 2:18-cv-00171-RWS-RSP
                                        § (LEAD CASE)
                        Plaintiff,      §
                                        § JURY TRIAL DEMANDED
            v.                          §
                                        §
   ACADEMY, LTD.,                       §
   d/b/a ACADEMY SPORTS + OUTDOORS,     §
                                        §
                        Defendant.      §

                                        §
   CXT SYSTEMS, INC.,                   § Case No. 2:18-cv-00233-RWS-RSP
                                        § (CONSOLIDATED CASE)
                        Plaintiff,      §
                                        § JURY TRIAL DEMANDED
            v.                          §
                                        §
   J. C. PENNEY COMPANY, INC.,          §
                                        §
                        Defendant.      §
                                        §




                   PLAINTIFF CXT SYSTEMS, INC.’S RESPONSE
                    IN OPPOSITION TO JCPENNEY’S SEALED
            MOTION FOR SUMMARY JUDGMENT ON NON-WILLFULNESS
           AND LIMITATION OF DAMAGES FOR NON-MARKING (DKT. 287)
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           Plaintiff CXT Systems, Inc. (“CXT” or “Plaintiff”), by and through its undersigned

   counsel, respectfully submits this response in opposition to Defendant J. C. Penney Corporation

   Inc.’s (“JCP” or “Defendant”) Sealed Motion for Summary Judgment on Non-Willfulness and

   Limitation of Damages for Non-Marking (Dkt. 287). JCP’s Motion should be denied.

   I.      INTRODUCTION

           CXT does not intend to assert at trial any claim of willful infringement of the Asserted

   Patents against JCP. Because there is no case or controversy regarding willful infringement,

   JCP’s Motion should be denied.

           With respect to marking, JCP failed to meet its initial burden of production to articulate

   the products it believes are unmarked “patented articles” subject to § 287. Arctic Cat Inc. v.

   Bombardier Recreational Prods Inc., 876 F.3d 1350, 1366 (Fed. Cir. 2017) (citation omitted).

   Because JCP did not put CXT on notice that CXT or its authorized licensees allegedly sold

   specific unmarked products which JCP believes practices the patent, the Court should deny the

   Motion and preclude JCP from raising a marking defense at trial.

   II.     RESPONSE TO STATEMENT OF ISSUES TO BE DECIDED BY THE COURT

           1.      Whether the court should grant summary judgment for non-willfulness when no

   genuine issue of material fact exists to show that JCPenney’s alleged infringement of the patents-

   in-suit was willful.

           Response: Whether JCP is entitled to summary judgment for non-willfulness when CXT

   does not intend to assert at trial any claim of willful infringement.

           2.      Whether the court should grant summary judgment to JCPenney due to CXT’s

   failure to mark or otherwise provide notice of its patent pursuant to the marking provisions of 35

   U.S.C. § 287.
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          Response: Whether JCP is entitled to summary judgment for failure to mark when JCP

   failed to meet its initial burden of production under Arctic Cat to articulate the products it

   believes are unmarked “patented articles” subject to § 287.

   III.   RESPONSE TO JCP’s STATEMENT OF UNDISPUTED MATERIAL FACTS

          Regarding statements 1 through 16, because CXT does not intend to assert at trial any

   claim of willful infringement, CXT submits that the issue is moot.

          Regarding statement 17,                                                                       .

          Regarding statement 18,

                                                .

          Regarding statement 19, JCP provides no citation to any evidence of record. It is

   undisputed that                                               . Thus,                                    .

          Regarding statement 20,                                           As stated above,

                                                                                                    .

          Regarding statements 21-22, which are disputed,




          Regarding statement 23, which is disputed,




          Regarding statement 25, which is disputed, JCP did not meet its initial burden to identify

   specific unmarked, patented products that it believes were sold during the relevant time period

   and practiced the claims of the Asserted Patents.




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   IV.    CXT’s COUNTER-STATEMENT OF UNDISPUTED MATERIAL FACTS

          1.      JCP did not put CXT on notice that CXT or its authorized licensees sold specific,

   unmarked products which JCP believes practice the patent.

          2.      JCP has not identified any specific, unmarked products in any of its discovery

   responses.

          3.      JCP has not identified any specific, unmarked products in any correspondence to

   CXT or its counsel.

          4.



          5.



          6.



   V.     LEGAL STANDARD

          A.      Summary Judgment

          The Court only grants summary judgment on an issue if there is no genuine issue of

   material fact and the moving party demonstrates it is entitled to judgment as a matter of law.

   Celotex Corp. v. Catrett, 477 U.S. 317, 323-25 (1986). A fact is “material” if it might affect the

   outcome of the lawsuit under the governing law. Merritt-Campbell, Inc. v. RxP Prods., Inc., 164


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   F.3d 957, 961 (5th Cir. 1999). An issue of material fact is “genuine” if the evidence could lead a

   reasonable jury to find for the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

   248 (1986). In deciding whether a genuine issue of material fact exists, “[t]he evidence of the

   non-movant is to be believed, and all justifiable inferences are to be drawn in his favor.” Liberty

   Lobby, 477 U.S. at 255 (citation omitted).

          B.      Pre-suit Damages

          “Compliance with § 287 is a question of fact.” Arctic Cat Inc., 876 F.3d at 1366 (Fed.

   Cir. 2017) (citation omitted).

          The alleged infringer bears an initial burden of production to articulate the products it

   believes are unmarked “patented articles” subject to § 287. Id. The alleged infringer must put

   the patentee on notice that he or his authorized licensees sold specific, unmarked products which

   the alleged infringer believes practice the patent. Id.

          The duty to mark does not extend to a patent that is directed to a process or method.

   Crown Packaging Tech., Inc. v. Rexam Bev. Can Co., 559 F.3d 1308, 1316 (Fed. Cir. 2009).

   The marking requirement does not apply to patents where both apparatus and method claims

   were initially asserted but the apparatus claims were timely dropped, i.e., by agreement of the

   parties. ContentGuard Holdings, Inc. v. Amazon.com, Inc., Case Nos. 2:13-CV-1112-JRG; 2:14-

   CV-61-JRG, 2015 WL 11089750, at *4 (E.D. Tex. Aug. 10, 2015).

   VI.    ARGUMENT

          A.      There Exists No Dispute Regarding Willful Infringement

          JCP seeks summary judgment on an issue that is not in dispute. CXT does not assert that

   JCP willfully infringed the Asserted Patents. CXT will not assert willful infringement at trial.

          JCP’s Motion seeks a dispositive judgment on an issue for which there is no present case

   or controversy, and JCP cites to no case law holding that such relief is appropriate. To the


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   contrary, the case law in this District indicates that the Court should not grant summary judgment

   on issues that will not be presented at trial. See, e.g., VirnetX Inc. v. Apple Inc., 925 F. Supp. 2d

   816, 849 (E.D.Tex. 2013) (“The Court encourages and requires the parties to narrow their case

   for trial. Accordingly, the Court will not penalize such attempts to narrow issues by entering

   judgment on issues not presented at trial.”). Accordingly, JCP’s Motion should be denied as

   moot.

           B.     JCP Failed to Meet Its Initial Burden under Arctic Cat

           JCP failed to meet its initial burden under Arctic Cat. JCP has not articulated the

   products it believes are unmarked “patented articles” subject to § 287. Arctic Cat, 876 F.3d at

   1366. JCP has not put CXT on notice that CXT or its authorized licensees sold specific,

   unmarked products which JCP believes practices the Asserted Patents. Id.

           JCP’s Motion fails to address Arctic Cat. Rather, JCP ignores the law and relies on

   irrelevant and non-binding cases to improperly shift its initial burden of production to CXT.

   Mot. at 7-8.

           During the entire eleven-month fact discovery period, JCP remained laid behind the log

   on the issue of marking. JCP did not articulate any products it believed to be unmarked, patented

   articles in its discovery responses. JCP did not allege whether any authorized licensees sold

   unmarked products which it believes practice the patent. CXT received no correspondence

   specifically identifying any unmarked, patented articles.

           This Motion indicates that JCP is (1) unaware of its initial burden of production under

   Arctic Cat, or (2) refuses to accept Arctic Cat as binding precedent. The Motion is devoid of any

   statement identifying unmarked “patented articles.” The Motion fails to include any allegation

   that JCP put CXT on notice that CXT or its authorized licensees sold any specific, unmarked

   products which JCP believes practice the Asserted Patents.


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          JCP’s general identification of various settlement agreements is not sufficient to meet its

   initial burden under Arctic Cat. While JCP generally points to CXT’s settlement agreements

   with prior defendants                                                           , JCP does not

   assert that any of the settlement agreements cover any specific products.




                                                                                            JCP does

   not contend that any of the agreements apply to any specific product associated with any

   particular customer. JCP does not identify any customers as authorized licensees that make and

   sell unmarked products that are covered by the license and that practice the invention. Because

   JCP has not identified any specific product, it is not surprising that JCP has not identified any

   dates of manufacture or sales associated with any specific product. Because JCP does not

   contend that any one “patented article” was sold unmarked by CXT or any authorized licensee of

   the Asserted Patents, the Court should find that JCP failed meet its initial burden of production.

   Accordingly, CXT respectfully requests that this Court deny the Motion and preclude JCP from

   asserting any marking defense at trial.

          C.      There Exists No Duty to Mark the Asserted Method Claims of the ’875
                  Patent

          Based on the parties’ mutual agreement to narrow the claims at issue (Dkt. 156, Dkt.

   153), CXT asserts only method claims of the ’875 Patent. Because the duty to mark does not

   extend to method claims, the marking requirements would not apply to the Asserted Claims of

   the ’875 Patent. Crown Packaging Tech., 559 F.3d at 1316 (Fed. Cir. 2009); ContentGuard

   Holdings, 2015 WL 11089750, at *4.




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 VII.   CONCLUSION

        For the foregoing reasons, JCPenney has failed to show good cause for its Motion for

 Summary Judgment on Non-Willfulness and Limitations of Damages for Non-Marking and the

 Court should deny that Motion.

        CXT reserves all rights to move for sanctions and request fees and costs associated with

 responding to this frivolous Motion in which JCP ignores the binding precedent set forth in

 Arctic Cat.

 Dated: December 13, 2019                            BROWN RUDNICK LLP

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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 13, 2019, a true and correct copy of the above and

 foregoing document has been served by email on all counsel of record.

                                             /s/ Alfred R. Fabricant
                                                Alfred R. Fabricant
